 1                              UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA

 3 THIS DOCUMENT APPLIES TO                                         Pertains To Civil Action No.:
 4 PLAINTIFF(S):                                                    _______________________

 5 BRIAN WRIGHT, INDIVIDUALLY AND
                                                                    In Re: Incretin-Based Therapies
 6 AS SUCCESSOR IN INTEREST AND
   SURVIVING HEIR OF BOBBYE                                           Products Liability Litigation
 7 WRIGHT, DECEASED,
                                                                           MDL NO. 2452
 8
     Plaintiff                                                    SHORT FORM COMPLAINT
 9
                                                                      FOR DAMAGES
10   v.
11         AMYLIN PHARMACEUTICALS, LLC,                           Case No.: 13md2452 AJB(MDD)
           ELI LILLY AND COMPANY,
12
           MERCK SHARP & DOHME CORP.,
13         NOVO NORDISK INC.,
14
          (Check all the above that apply)
15
     Defendants
16
                          SHORT FORM COMPLAINT FOR DAMAGES
17
              COMES NOW the Plaintiff(s) named herein, and for Complaint against the
18
     Defendants named herein, incorporates and fully adopts the Master Form Complaint
19
     (the “Master Complaint”) in MDL No. 2452 by reference. Plaintiff(s) further shows
20
     the Court as follows:
21
                                      JURISDICTION AND VENUE
22
               1.     Jurisdiction in this Complaint is based on:
23
                           Diversity of Citizenship
24
                            Other (As set forth below, the basis of any additional ground for
25
                      jurisdiction must be pleaded in sufficient detail as required by the
26
                      applicable Federal Rules of Civil Procedure):
27
                                                                                                      .
28


                                             CIVIL COMPLAINT FOR DAMAGES
 1         2.     District Court and Division in which you might have otherwise filed
 2   absent the direct filing order entered by this Court: United States District Court for
 3   the Northern District of Florida
 4         3.     Plaintiff(s) further adopts the allegations contained in the following
 5   paragraphs of the Jurisdiction and Venue section of the Master Complaint:
 6              Paragraph 10;
 7              Paragraph 11;
 8              Paragraph 12;
 9              Paragraph 13;
10              Paragraph 14;
11              Paragraph 15; and/or
12              Other allegations as to jurisdiction and venue (Plead in sufficient detail in
13         numbered paragraphs (numbered to begin with 3(a)) as required by the
14         applicable Federal Rules of Civil Procedure):
15                                                                                          .
16                    PLAINTIFF/INJURED PARTY INFORMATION
17         4.     Injured/Deceased Party’s Name: BOBBYE WRIGHT (the “Injured
18   Party”).
19         5.     Any injury (or injuries) suffered by the Injured Party in addition to
20   those injuries related to the Injured Party’s Pancreatic Cancer, which is alleged to
21   have been caused by the drug(s) ingested as set forth below (put “None” if
22   applicable): Pancreatic cancer and subsequent death due to pancreatic cancer.
23         6.     Injured Party’s spouse or other party making loss of consortium claim:
24   BRIAN WRIGHT
25         7.     Other Plaintiff(s) and capacity, if Injured Party is deceased or
26   otherwise incapacitated (i.e., administrator, executor, guardian, representative,
27   conservator, successor in interest): BRIAN WRIGHT, successor in interest
28         8.     City(ies) and State(s) of residence of Injured Party at time of ingestion
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                                 SHORT FORM COMPLAINT FOR DAMAGES
 1   of the Drug(s): Panama City, Florida
 2         9.      City and State of residence of Injured Party at time of pancreatic
 3   cancer diagnosis (if different from above): N/A
 4         10.     City and State of residence of Injured Party at time of diagnosis of
 5   other Injury(ies) alleged in Paragraph 5 (if different from above): N/A
 6         11.     If applicable, City and State of current residence of Injured Party (if
 7   different from above): N/A
 8         12.     If applicable, City and State of residence of Injured Party at time of
 9   death (if different from above): N/A
10         13.     If applicable, City and State of current residence of each Plaintiff,
11   including any Consortium and or other Plaintiff(s) (i.e., administrator, executor,
12   guardian, representative, conservator, successor in interest): Panama City, Florida
13         14.     Check box(es) of product(s) (the “Drugs”) for which you are making
14   claims in this Complaint:
15               Byetta. Dates of use: Between approximately April 4, 2013 and March
16         2014
17               Januvia. Dates of use: Between approximately June 8, 2009 and April
18         2016
19               Janumet. Dates of use:
20                Victoza. Dates of use: Between approximately May 16, 2014 and
21         January 2016
22         15.     Date of pancreatic cancer diagnosis: September 25, 2015
23         16.     If applicable, date of other injuries alleged in Paragraph 5: N/A
24         17.     If applicable, date of death: April 13, 2016
25                           DEFENDANTS NAMED HEREIN
26
                     (Check Defendants against whom Complaint is made)

27               Amylin Pharmaceuticals, LLC
28               Eli Lilly and Company
                                                -3-
                                  SHORT FORM COMPLAINT FOR DAMAGES
 1              Merck Sharp & Dohme Corp.
 2              Novo Nordisk Inc.
 3

 4                                  CAUSES OF ACTION
 5
                    (Counts in the Master Complaint brought by Plaintiff(s))

 6
                Count I – Strict Liability – Failure to Warn
 7
                Count II – Strict Liability – Design Defect
 8
                Count III – Negligence
 9
                Count IV – Breach of Implied Warranty
10
                Count V – Breach of Express Warranty
11
                Count VI – Punitive Damages
12
                Count VII – Loss of Consortium
13
                Count VIII – Wrongful Death
14
                Count IX – Survival Action
15
                Other Count(s):____________________
16
            Plead factual and legal basis for any Other Count(s) in separately numbered
17
            Paragraphs (beginning with Paragraph 18) that provide sufficient information
18
            and detail to comply with the applicable Federal Rules of Civil Procedure.
19          ________________________________________________________________________

20          ________________________________________________________________________.

21
                          PRAYER FOR RELIEF AND, AS APPLICABLE,
22
           PRAYER FOR RELIEF FOR SURVIVAL AND WRONGFUL DEATH
23
            WHEREFORE, Plaintiff(s) pray(s) for relief as set forth in the Master
24
     Complaint filed in MDL No. 2452.
25
                                           JURY DEMAND
26
            Plaintiff(s) hereby    demands        does not demand a trial by jury on all
27
     issues so triable.
28
                                                -4-
                                  SHORT FORM COMPLAINT FOR DAMAGES
 1   ///
 2   ///
 3   Dated: April 12, 2018               RESPECTFULLY SUBMITTED,
 4                                       By: /s/ Michael K. Johnson
 5                                       Michael K. Johnson (MN Bar # 258696)
 6
                                         Kenneth W. Pearson (MN Bar #016088X)
                                         Leland P. Abide (MN Bar #0398269)
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13                                       Attorneys for Plaintiff

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                             SHORT FORM COMPLAINT FOR DAMAGES
